
684 So.2d 883 (1996)
J.L., a Juvenile, Appellant,
v.
The STATE of Florida, Appellee.
No. 96-944.
District Court of Appeal of Florida, Third District.
December 18, 1996.
*884 Bennett H. Brummer, Public Defender, and Howard K. Blumberg, Assistant Public Defender, for appellant.
Robert A. Butterworth, Attorney General, and Mark Rosenblatt, Assistant Attorney General, for appellee.
Before JORGENSON, GERSTEN and GODERICH, JJ.
PER CURIAM.
J.L. appeals from an order of restitution requiring him to pay $2,025.00 to the victim. Upon the State's proper confession of error as to the amount attributable to the two rings and the VCR, we reverse, as their value was established only through hearsay testimony, and the defendant objected to the admission of that testimony. See Louis v. State, 654 So.2d 1290 (Fla. 3d DCA 1995) (hearsay testimony of value of items stolen cannot by itself support restitution order).
However, the value of the remainder of the items that were stolen, and the property damaged, was properly established by the victim's testimony as to market value and purchase price. See State v. Hawthorne, 573 So.2d 330 (Fla.1991). Moreover, the defendant did not object to the testimony regarding these items.
In sum, we reverse the order of restitution and remand to the trial court to recalculate the amount of restitution due the victim, and to award the victim the full value of her properly proven loss.
Reversed and remanded with directions.
